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                             UNITED STATES DISTRICT COURT
9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                   WESTERN DIVISION
11

12   UNITED STATES OF AMERICA,              No. CV 18-08420-RGK (PJWx)

13             PLAINTIFF,                   [PROPOSED]
                                            ORDER REGARDING MOTION TO FILE
14                  V.                      CLAIM BRIEFING AND HEARING SCHEDULE
15   $1,546,076.35 IN BANK FUNDS
     SEIZED FROM REPUBLIC BANK OF
16   ARIZONA ACCOUNT ‘1889, et al.,

17             DEFENDANTS.
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20        Upon consideration of the stipulation filed by plaintiff United

21   States of America and movants Roarke Lacey and Colin Lacey in this

22   consolidated action on November 23, 2020, and good cause appearing

23   therefore,

24   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

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1         The government’s response to Movants’ motion to file claims

2    (ECF No. 165) is due to the Court on or before December 8, 2020;

3    Movants’ replies in support of their motion are due to the Court on

4    or before December 22, 2020; and the hearing on the motion is reset

5    to January 4, 2021 at 9:00 a.m.

6    IT IS SO ORDERED.

7

8    Dated:                 , 2020
                                       THE HONORABLE R. GARY KLAUSNER
9                                      UNITED STATES DISTRICT JUDGE
10   Presented by:
11   NICOLA T. HANNA
12   United States Attorney
     BRANDON D. FOX
13   Assistant United States Attorney
     Chief, Criminal Division
14   STEVEN R. WELK
     Chief, Asset Forfeiture Section
15

16         /s/
     DAN G. BOYLE
17   Assistant United States Attorney
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     Attorneys for Plaintiff
19   UNITED STATES OF AMERICA

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